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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO

                              COURT FILE NO.: 1:12-CV-03292


  DOUGLAS WELLS, on behalf of himself
  and others similarly situated,

         Plaintiff

  v.

  CHASE BANK USA, N.A.,

        Defendant
  ______________________________________________________________________________

              NOTICE OF VOLUNTARY DISMISSAL WITH PREJUDICE
  ______________________________________________________________________________

         Pursuant to Rule 41(a)(1)(A)(i) of the Federal Rules of Civil Procedure, Douglas

  Wells gives notice to the Clerk of the United States District Court for the District Court

  of Colorado that this case is voluntarily dismissed with prejudice.



                                            Respectfully submitted,

  March 28, 2013
                                            /s/ Tracey N. Tiedman
                                            Tracey N. Tiedman
                                            Aaron D. Radbil
                                            Weisberg & Meyers LLC
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                               CERTIFICATE OF SERVICE

         I certify that on March 28, 2013, I electronically filed the foregoing document

  with the clerk of the U.S. District Court for the District of Colorado, using the electronic

  case filing system of the court.



                                                   By: s/ Lydia Bultemeyer
                                                       Lydia Bultemeyer




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